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 5
 6    ATTORNEY FOR Defendant,
      TOMMIE THOMAS
 7
 8
 9                                UNITED STATES DISTRICT COURT

10                               EASTERN DISTRICT OF CALIFORNIA

11                                              ******

12    UNITED STATES OF AMERICA,                         Case No.: 1:17-CR-00296-1 DAD-BAM
13                  Plaintiff,                          STIPULATION AND ORDER TO
14           v.                                         CONTINUE SENTENCING HEARING

15
                                                        Date: October 15, 2019
16    TOMMIE THOMAS,                                    Time: 10:00 a.m.
                                                        Courtroom: 5
17                  Defendant.                          Hon. Dale A. Drozd
18
19    TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
             ATTORNEY:
20
21           IT IS HEREBY STIPULATED by and between the parties hereto through their respective
22    counsel that the sentencing hearing in the above captioned matter now set for Tuesday, October
23    15, 2019, at 10:00 a.m. be continued to Monday, November 25, 2019, at 10:00 a.m.
24           The parties also agree to amend the briefing schedule as follows: Informal Objections
25    are due on October 28, 2019, Final Presentence Investigation Report is due on November 4, 2019,
26    and Formal Objections are due on November 12, 2019.
27           This request is made by defense counsel who needs additional time to set aside state
28    case before sentencing.




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 1    IT IS SO STIPULATED.
 2                                              Respectfully submitted,
 3     DATED:      September 20, 2019     By: /s/ Angela L. Scott
 4                                            ANGELA L. SCOTT
                                              Assistant United States Attorney
 5
 6
 7     DATED:      September 20, 2019     By: /s/ Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
 8                                            Attorney for Defendant TOMMIE THOMAS
 9
10
11                                               ORDER

12           Based upon the stipulation of the parties and good cause appearing therefor, it is hereby

13    ORDERED that the date of the sentencing hearing of the defendant in the above-entitled case is

14    continued from Tuesday, October 15, 2019, at 10:00 a.m. to Monday, November 25, 2019, at

15    10:00 a.m. The briefing schedule is changed as follows: Informal Objections due on October

16    28, 2019, Final Presentence Investigation Report due on November 4, 2019, and Formal

17    Objections due on November 12, 2019.

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      IT IS SO ORDERED.
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         Dated:    September 23, 2019
20                                                       UNITED STATES DISTRICT JUDGE
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